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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF PUERTO RICO

                                 CASE NO.: 3:20-cv-01682-ADC

SECURITIES AND EXCHANGE COMMISSION,

                       Plaintiff,

           v.

EUGENIO GARCIA JIMENEZ, JR.,

                  Defendant.
__________________________________________________/

                                    JOINT RULE 26(f) REPORT

       Pursuant to Federal Rule of Civil Procedure 26(f), Plaintiff Securities and Exchange

Commission (“Plaintiff”) and Defendant Eugenio Garcia Jimenez, Jr. (“Defendant”, together with

Plaintiff, the “Parties”) respectfully submit this Joint Rule 26(f) Report:

I.     Preliminary Statement

       The Parties conducted their Rule 26(f) scheduling conference, via telephone conference,

on March 18, 2021:

 Parties                                      Counsel appearing at scheduling conference
 Plaintiff Securities and Exchange Commission Stephanie N. Moot, Esq.
 Defendant Eugenio Garcia Jimenez, Jr.        Jose M. Martinez Chevres, Esq.


II.    Report For Fed. R. Civ. P. 26(f)

        A.    What changes should be made in the timing, form, or requirement for
disclosures under Rule 26(a), including a statement of when initial disclosures were made or
will be made:

       The Parties agree to provide the disclosures required by Rule 26(a)(1) by April 15, 2021.

The Parties do not anticipate the need for changes to any discovery limitations at this time.
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      B.      The subjects on which discovery may be needed, when discovery should be
completed, and whether discovery should be conducted in phases or be limited to or focused
on particular issues:

        The Parties agree to work diligently to refine the scope of subjects on which discovery is

needed. The Parties propose a discovery deadline of January 21, 2022. At this time, the Parties

do not anticipate that discovery will need to be conducted in phases or be limited to or focused

on particular issues.

       C.    Any issues about disclosure, discovery, or preservation of electronically
stored information, including the form or forms in which it should be produced:

       The parties agree to preserve all discoverable or potentially discoverable information

within their possession, custody, or control. Whenever feasible, the parties will produce all

electronically stored information (“ESI”) in bates-stamped, OCR text, or tiff format. Alternatively,

if unable to produce ESI in such a manner, the parties will produce the information in the existing

stored format. The parties further agree that they will maintain all relevant ESI in its original

format until final resolution of this matter.

        The parties have agreed that if any party inadvertently produces ESI or other documents

that the producing party claims after production are privileged, the producing party will notify

the opposing party promptly after learning that an inadvertent production of privileged material

has occurred. Further, the receiving party shall promptly return, sequester, or destroy the

material in question, and must take reasonable steps to retrieve the information from third parties,

including expert witnesses. However, the parties reserve their right to claim the disclosed

information was not privileged, or that the privilege was waived, and submit the matter to the

Court if an agreement cannot be reached.




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       D.     Any issues about claims of privilege or of protection as trial-preparation
materials, including—if the parties agree on a procedure to assert these claims after
production—whether to ask the court to include their agreement in an order under Federal
Rule of Evidence 502:

       The Parties incorporate their response set forth in Section C above.

       E.     What changes should be made in the limitations on discovery imposed under
these rules or by local rule, and what other limitations should be imposed

       None at this time.

       F.      Any other orders that the Court should issue under Rule 26(c) or under Rule
16(b) and (c):

       None at this time.

Date: March 26, 2021                                         Respectfully submitted,

 By: /s/ Stephanie N. Moot                          By: /s/ Jose M. Martinez Chevres, Esq.
 Stephanie N. Moot, Esq.                            Jose M. Martinez Chevres, Esq.
 Senior Trial Counsel                               USDC-PR 301002
 PR Court ID No. G03207

 Securities and Exchange Commission                 Martinez Chevres Law Office
 801 Brickell Avenue, Suite 1950                    P.O. Box 190790
 Miami, FL 33131                                    San Juan, PR 00919-0790
 Telephone: (305) 982-6300                          Telephone: 787.963.0100
 Email: moots@sec.gov                               E-mail: jmc@martinezchevres.com
 Counsel for Plaintiff                              Counsel for Defendant Eugenio Garcia
                                                    Jimenez, Jr.




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 26, 2021, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served this day on all counsel of record via transmission of Notices of Electronic Filing

generated by CM/ECF.

                                                      /s/ Stephanie N. Moot
                                                      Stephanie N. Moot
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Jose M. Martinez Chevres, Esq.
Martinez Chevres Law Office
P.O. Box 190790
San Juan, PR 00919-0790
Telephone: 787.963.0100
E-mail: jmc@martinezchevres.com
Counsel for Defendant Eugenio Garcia Jimenez, Jr.




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